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              SIGNED THIS   16th day of September, 2021
              THIS ORDER HAS BEEN ENTERED ON THE DOCKET. PLEASE                PaulM Black
              SEE DOCKET FOR ENTRY DATE.                              UNITED STATES BANKRUPTCY JUDGE




                                UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF VIRGINIA
                                        ROANOKE DIVISION

IN RE:                                                            )
                                                                  )   Chapter 7
TIMOTHY JAMES WILLIAMS, JR., and                                  )
ANDRIAN SHANNON WILLIAMS,                                         )
                                                                  )   Case No. 15-71767
       Debtors.                                                   )
JOHN P. FITZGERALD, III, Acting                                   )
United States Trustee for Region Four,                            )
                                                                  )
         Plaintiff,                                               )
                                                                  )
v.                                                                )   Adversary Proceeding
                                                                  )    No. 16-07024
DARREN DELAFIELD, UPRIGHT LAW                                     )
LLC, LAW SOLUTIONS CHICAGO LLC,                                   )
JASON ROYCE ALLEN, KEVIN W.                                       )
CHERN, EDMUND SCANLAN, and                                        )
SPERRO LLC,                                                       )
                                                                  )
         Defendants.                                              )
IN RE:                                                            )
                                                                  )   Chapter 7
JESSICA DAWN SCOTT,                                               )
                                                                  )   Case No. 16-50158
       Debtor.                                                    )
JOHN P. FITZGERALD, III, Acting                                   )
United States Trustee for Region Four,                            )
                                                                  )
         Plaintiff,                                               )
v.                                                                )   Adversary Proceeding
                                                                  )     No. 16-05014
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JOHN C. MORGAN, JR., JOHN C.                          )       (consolidated with Adversary
MORGAN, JR., PLLC, UPRIGHT LAW LLC,                   )       Proceeding No. 16-07024)
LAW SOLUTIONS CHICAGO LLC, JASON                      )
ROYCE ALLEN, KEVIN W. CHERN,                          )
EDMUND SCANLAN, and SPERRO LLC,                       )
                                                      )
       Defendants.                                    )


                          ORDER IMPLEMENTING SUSPENSION

       By Order ( the “2018 Order”) entered February 12, 2018, as amended, this Court

directed that John C. Morgan, Jr.’s privileges to appear before this Court, directly or indirectly,

including through John C. Morgan, Jr., PLLC, shall be revoked for a period of eighteen (18)

months (emphasis added). Further, Mr. Morgan was sanctioned $5,000.00 to be paid to Jessica

Scott, both to take effect within thirty (30) days of the 2018 Order becoming final and

unappealable. Mr. Morgan was further directed to make his payment in certified funds payable

to Ms. Scott, delivered to Margaret K. Garber, Assistant United States Trustee, 210 First Street,

Suite 505, Roanoke, VA 24011.

       It appearing to the Court that Mr. Morgan appealed the 2018 Order to the United States

District Court for the Western District of Virginia, and that on July 9, 2021, the United States

District Court entered a final Order affirming the 2018 Order as to Mr. Morgan. No appeal was

timely taken to the United States Court of Appeals for the Fourth Circuit.

       Accordingly, it is ORDERED as follows:

       1.      Mr. Morgan shall forthwith give notice, by certified mail, of the suspension of

       his privileges to practice before this Court to all clients for whom he is currently

       handling matters and to all opposing attorneys and presiding judges in pending

       litigation. Mr. Morgan shall also make appropriate arrangements for the disposition of

       matters then in his care in conformity with the wishes of his clients. Mr. Morgan shall

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       give such notice within thirty (30) days of the entry of this order, and make such

       arrangements as are required herein within forty-fi v e (45) days of this Order. Mr.

       Morgan shall also furnish proof to the United States Trustee within sixty (60) days of

       this Order that such notices have been timely given and such arrangements made for the

       disposition of matters.

       2.       Thirty (30) days after the entry of this Order, the Clerk of this Court shall restrict

       all CM/ECF filing privileges maintained by Mr. Morgan until further Order of the Court.

       3.       If Mr. Morgan is not handling any client matters before this Court on the

       date of this Order, he shall file an affidavit to that effect with the Office of the United

       States Trustee within sixty (60) days of the effective date of the suspension.

       4.       To the extent he has not already done so, Mr. Morgan shall make the

       payment to Jessica Scott as specified in the 2018 Order, as amended.

       5.       All issues concerning (i) compliance with the terms of suspension, and (ii) the

       adequacy of the notice and arrangements required above shall be determined by the

       Court, which may impose an additional sanction for failure to comply with the

       requirements of this Order or the 2018 Order.

       6.       This Order and the 2018 Order may be enforced by any presiding judge of this

       Court.

       The Clerk is directed to forward a copy of this Order to John C. Morgan, Jr.; John C.

Morgan, Jr., PLLC; the Office of the United States Trustee; and to all counsel of record.

                                      ** END OF ORDER **




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